

JP Oil Group, Inc. v Lakhani (2024 NY Slip Op 00725)





JP Oil Group, Inc. v Lakhani


2024 NY Slip Op 00725


Decided on February 9, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 9, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, MONTOUR, OGDEN, AND DELCONTE, JJ.


1050 CA 23-01067

[*1]JP OIL GROUP, INC., PLAINTIFF-RESPONDENT,
vSADRUDDIN M. LAKHANI AND AMIR PERANI, DEFENDANTS-APPELLANTS. (APPEAL NO. 5.) 






ATHARI &amp; ASSOCIATES, LLC, NEW HARTFORD (MO ATHARI OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
SPECTOR GADON ROSEN VINCI P.C., NEW YORK CITY (DAVID B. PICKER OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


	Appeal from an amended order and judgment (one paper) of the Supreme Court, Oneida County (James P. McClusky, J.), entered June 2, 2023. The amended order and judgment, among other things, awarded plaintiff the amount of $282,428.28. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Kolasz v Levitt , 63 AD2d 777, 779 [3d Dept 1978]).
Entered: February 9, 2024
Ann Dillon Flynn
Clerk of the Court








